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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF FLORIDA
                                       FT. MYERS DIVISION
 In re:                                                                  Chapter 7
 JONES, ALAN G. and BRIDGET L.,
           Debtor(s).                                                    Case No. 9:17-bk-05313-FMD

                             REPORT AND NOTICE OF TRUSTEE'S
                      INTENTION TO ABANDON PROPERTY OF THE ESTATE
                                          NOTICE OF OPPORTUNITY TO
                                           OBJECT AND FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
 notice or hearing unless a party in interest files a response within fourteen (14) days from the date set forth on the
 attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.
           If you object to the relief requested in this paper, you must file a response with the Clerk of the Court at Sam
 M. Gibbons U.S. Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, FL 33602-3899, and serve a copy on the
 movant’s attorney, Douglas N. Menchise, Esquire, 2963 Gulf to Bay Blvd., Suite 300, Clearwater, FL 33759, and any
 other appropriate persons within the time allowed. If you file and serve a response within the time permitted, the Court
 will either schedule and notify you of a hearing, or consider the response and grant or deny the relief requested
 without a hearing.
           If you do not file a response within the time permitted, the Court will consider that you do not oppose the
 relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant the
 relief requested.

TO:               ALL INTERESTED PARTIES LISTED BELOW
FROM:             DOUGLAS N. MENCHISE, TRUSTEE

PURSUANT TO SECTION 554, BANKRUPTCY CODE, AND RULE 6007, NOTICE IS HEREBY GIVEN
OF THE ABANDONMENT OF THE FOLLOWING DESCRIBED PROPERTY:

          The bankruptcy estate’s interest in real property located at 8970 Abbotsford Terrace,
          Fort Myers, Florida 33912, NOT TO INCLUDE golf membership #1687.

          legal description: LOT 132, FIDDLESTICKS COUNTRY CLUB, ACCORDING TO THE
          PLAT THEREOF, AS RECORDED IN PLAT BOOK 34, PAGES 144 THROUGH 160
          INCLUSIVE, IN THE PUBLIC RECORDS OF LEE COUNTY, FLORIDA.

THE ABOVE-LISTED PROPERTY IS BEING ABANDONED FOR THE FOLLOWING REASONS:

          Assets are of inconsequential value and/or burdensome to the estate.

        I HEREBY CERTIFY that true and correct copies of the foregoing were delivered via CM/ECF to
the Office of the United States Trustee, Debtors’ attorney, Robert E. Tardif, Jr., Esq., and all parties on the
Court’s Electronic Users List and by UNITED STATES MAIL to the Debtors, Alan G. Jones and Bridget
L. Jones, 6860 Broken Arrow Road, Ft. Myers, FL 33912; and all parties on the Court’s mailing matrix
attached hereto, on February 15, 2019.
                                                  /s/ Douglas N. Menchise
                                                  DOUGLAS N. MENCHISE, ESQUIRE
                                                  Florida Bar No. 214965
                                                  2963 Gulf to Bay Blvd., Suite 300
                                                  Clearwater, Florida 33759
                                                  (727) 797-8384 / phone
                                                  (727) 797-8019 / fax
                                                  Dmenchise@verizon.net
